

Matter of Carpenter (2018 NY Slip Op 03302)





Matter of Carpenter


2018 NY Slip Op 03302


Decided on May 4, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 4, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., LINDLEY, CURRAN, AND WINSLOW, JJ. (Filed May 2, 2018.)


&amp;em;

[*1]MATTER OF KATELYN MARIE CARPENTER, AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDER
Application to resign for non-disciplinary reasons accepted and name removed from roll of attorneys.








